

People v Santos (2020 NY Slip Op 03548)





People v Santos


2020 NY Slip Op 03548


Decided on June 24, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 24, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
CHERYL E. CHAMBERS
JEFFREY A. COHEN
FRANCESCA E. CONNOLLY
PAUL WOOTEN, JJ.


2016-09558 
2016-09559

[*1]The People of the State of New York, respondent,
vLuis Santos, appellant. (S.C.I. Nos. 1753/16, 1754/16)


Paul Skip Laisure, New York, NY (Melissa Lee of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill and Danielle S. Fenn of counsel; Lorrie A. Zinno on the brief), for respondent.



DECISION &amp; ORDER
Appeals by the defendant from two judgments of the Supreme Court, Queens County (Dorothy Chin-Brandt, J.), both rendered August 11, 2016, convicting him of attempted robbery in the third degree under Superior Court Information No. 1753/16, and bail jumping in the second degree under Superior Court Information No. 1754/16, upon his pleas of guilty, and imposing sentences. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the appellant.	ORDERED that the judgments are affirmed.
We are satisfied with the sufficiency of the brief filed by the defendant's assigned counsel pursuant to Anders v California (386 US 738), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252; People v Paige, 54 AD2d 631; cf. People v Gonzalez, 47 NY2d 606).
BALKIN, J.P., CHAMBERS, COHEN, CONNOLLY and WOOTEN, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








